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                UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

    v.
                                         Criminal No. 21-418 (RDM)
ERIC BOCHENE,

         Defendant.



              PRELIMINARY JURY INSTRUCTIONS




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                        PRELIMINARY INSTRUCTIONS

      **SWEAR JURY**

                                  Instruction 1.102

              PRELIMINARY INSTRUCTION BEFORE TRIAL

      Before we begin the trial, I want to explain how this trial will work and

some of the legal rules that will be important in this trial. These remarks are not

meant to be a substitute for the detailed instructions that I will give at the end of

the trial just before you start your deliberations. These preliminary instructions are

intended to give you a sense of what will be going on in the courtroom and what

your responsibilities as jurors will be.




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                                  Instruction 1.105

                           NOTETAKING BY JURORS

      When you took your seats, you probably noticed that each of you had a

notebook and pen waiting for you. That is because I permit jurors to take notes

during trial if they wish. Whether you take notes or not is entirely up to you.

Many people find that taking notes helps them remember testimony and evidence;

others find it distracts them from listening to the witnesses.

      You will be permitted to take your notebooks back with you into the jury

room during deliberations. You should remember, however, that your notes are

only an aid to your memory. They are not evidence in the case, and they should

not replace your own memory of the evidence. Those jurors who do not take notes

should rely on their own memory of the evidence and should not be influenced by

another juror’s notes.

      Other than during your deliberations, the notebooks will remain locked in

the courtroom during recesses and overnight. You will not be able to take the

notebooks with you as you come and go, and you will not be permitted to take

them home with you overnight. At the end of the trial, when you come back to the

courtroom to deliver your verdict, your notebooks will be collected, and the pages

torn out and destroyed. No one, including myself, will ever look at any notes you

have taken, so you may feel free to write whatever you wish.


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                                  Instruction 1.107

    PRELIMINARY INSTRUCTION TO JURY WHERE IDENTITY OF

                      ALTERNATES IS NOT DISCLOSED

      You have probably noticed that there are fourteen (14) of you sitting in the

jury box. Only twelve (12) of you will retire to deliberate in this matter. Before

any of you even entered the courtroom, we randomly selected the alternates’ seats.

I will not disclose who the alternate jurors are until the end of my final instructions

just before you begin your deliberations. As any seat might turn out to be an

alternate’s seat, it is important that each of you think of yourselves as regular jurors

during this trial, and that all of you give this case your fullest and most serious

attention.




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                                 Instruction 1.108

    A JUROR’S RECOGNITION OF A WITNESS OR OTHER PARTY

                         CONNECTED TO THE CASE

      At the beginning of the jury selection process, you were introduced to some

witnesses by name. If, at any time during this trial, you suddenly realize that you

recognize or might know any witness, lawyer, someone who is mentioned in the

testimony or evidence, or anyone else connected with this case in any way, you

should raise your hand immediately and ask to speak with me.




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                                Instruction 1.111

                 DEFENDANT’S SELF-REPRESENTATION

      Eric Bochene has the constitutional right to choose not to have counsel and

to represent himself. You are to draw no inference whatsoever from the

defendant’s decision to represent himself with assistance, if he wants, from standby

counsel.




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                                  Instruction 1.102

              PRELIMINARY INSTRUCTION BEFORE TRIAL

      Now let me explain briefly some of the procedures we will follow and some

of the rules of law that will be important in this case. This is a criminal case that

began when the United States attorney filed a charging document called an

Information with the court.

      The defendant in this case is Eric Bochene. Mr. Bochene is charged with

four counts: Entering and Remaining in a Restricted Building in violation of 18

U.S.C § 1752(a)(1); Disorderly and Disruptive Conduct in a Restricted Building, in

violation of 18 U.S.C. § 1752(a)(2); Violent Entry and Disorderly Conduct in a

Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(D); Parading,

Demonstrating, or Picketing in a Capitol Building, in violation of 40 U.S.C.

§ 5104(e)(2)(G). The charged offenses are alleged to have occurred on or about

January 6, 2021 at the United States Capitol in the District of Columbia.

      You should understand clearly that the Information that I just summarized is

not evidence. The Information is just a formal way of charging a person with a

crime in order to bring him to trial. You must not think of the Information as any

evidence of the guilt of the defendant, or draw any conclusion about the guilt of the

defendant just because he has been charged.




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      At the end of the trial, you will have to decide whether or not the evidence

presented has convinced you beyond a reasonable doubt that the defendant

committed the offenses with which he has been charged. The defendant is charged

with four counts. The government must prove beyond a reasonable doubt each of

the elements of each offense.

      The elements of Count One—Entering or Remaining in a Restricted

Building in violation of 18 U.S.C § 1752(a)(1)—are:

      1. First, that the defendant entered or remained in a restricted building

        without lawful authority to do so.

      2. Second, that the defendant did so knowingly.

      The elements of Count Two—Disorderly or Disruptive Conduct in a

Restricted Building in violation of 18 U.S.C. § 1752(a)(2)—are:

      1. First, that the defendant engaged in disorderly or disruptive conduct in, or

        in proximity to, any restricted building.

      2. Second, that the defendant did so knowingly, and with the intent to

        impede or disrupt the orderly conduct of government business or official

        functions.

      3. Third, that the defendant’s conduct occurred when, or so that, his conduct

        in fact impeded or disrupted the orderly conduct of government business

        or official functions.


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      The elements of Count Three—Violent or Disorderly Conduct in a Capitol

Building in violation of 40 U.S.C. § 5104(e)(2)(D)—are:

      1. First, that the defendant engaged in disorderly or disruptive conduct in

         any of the United States Capitol Buildings.

      2. Second, that the defendant did so with the intent to impede, disrupt, or

         disturb the orderly conduct of a session of Congress or either House of

         Congress.

      3. Third, that the defendant acted willfully and knowingly.

      The elements of Count Four (Parading, Demonstrating, or Picketing in a

Capitol Building in violation of 40 U.S.C. § 5104(e)(2)(G)) are:

      1. First, that the defendant paraded, demonstrated, or picketed in any of the

         United States Capitol Buildings.

      2. Second, that the defendant acted willfully and knowingly.

      Every defendant in a criminal case is presumed to be innocent. This

presumption of innocence remains with the defendant throughout the trial unless

and until he is proven guilty beyond a reasonable doubt. The burden is on the

government to prove the defendant guilty beyond a reasonable doubt, and that

burden of proof never shifts throughout the trial. The law does not require a

defendant to prove his innocence or to produce any evidence. If you find that the

government has proven beyond a reasonable doubt every element of an offense


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with which the defendant is charged, it is your duty to find him guilty of that

offense. On the other hand, if you find that the government has failed to prove any

element of the offense beyond a reasonable doubt, you must find the defendant not

guilty of that offense.

      As I explain how the trial will proceed, I will refer to the “government” and

to the “defense” or the “defendant.” When I mention the “government,” I am

referring to Assistant United States Attorney Anita Eve and Trial Attorney Michael

Romano. When I mention the defendant or the defense, I am referring to the

defendant, Eric Bochene, or his standby counsel, Ubong Akpan.

      As the first step in this trial, the government and the defendant will have an

opportunity to make opening statements. The defendant may make an opening

statement immediately after the government’s opening statement or he may wait

until the beginning of the defendant’s case, or he may choose not to make an

opening statement at all. You should understand that the opening statements are

not evidence. They are only intended to help you understand the evidence that the

parties expect will be introduced.

      After the opening statement or statements, the government will put on what

is called its case-in-chief. This means that the government will call witnesses to

the witness stand and ask them questions. This is called direct examination. When

the government is finished, the defense may ask questions. This is called cross-


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examination. When the defense is finished, the government may conduct a brief

re-direct examination. After the government presents its evidence, the defendant

may present evidence, but he is not required to do so. The law does not require a

defendant to prove his innocence or to produce any evidence. If the defense does

put on evidence, Mr. Bochene will call witnesses to the stand and ask questions on

direct examination, the government will cross-examine, and Mr. Bochene may

have brief re-direct examination. When the defense is finished, the government

may offer a rebuttal case, which would operate along the same lines as its case-in-

chief.

         At the end of all of the evidence, each side will have an opportunity to make

a closing argument in support of its case. The parties’ closing arguments, just like

their opening statements, are not evidence in this case. They are only intended to

help you understand the evidence.

         Finally, at the end of the evidence and after both sides have finished closing

arguments, I will tell you in detail about the rules of law that you must follow

when you consider what your verdicts shall be. Your verdict must be unanimous;

that is, all twelve jurors must agree on the verdicts.

         I want to briefly describe my responsibilities as the judge and your

responsibilities as the jury. My responsibility is to conduct this trial in an orderly,

fair, and efficient manner, to rule on legal questions that come up in the course of


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the trial, and to instruct you about the law that applies to this case. It is your sworn

duty as jurors to accept and apply the law as I state it to you.

      Your responsibility as jurors is to determine the facts in the case. You—and

only you—are the judges of the facts. You alone determine the weight, the effect,

and the value of the evidence, as well as the credibility or believability of the

witnesses. You must consider and weigh the testimony of all witnesses who

appear before you. You alone must decide the extent to which you believe any

witness.

      You must pay very careful attention to the testimony of all of the witnesses

because you will not have any transcripts or summaries of the testimony available

to you during your deliberations. You will have to rely entirely on your memory

and your notes if you choose to take any.

      As human beings, we all have personal likes and dislikes, opinions,

prejudices, and biases. Generally, we are aware of these things, but you also

should consider the possibility that you have implicit biases, that is, biases of

which you may not be consciously aware. Personal prejudices, preferences, or

biases have no place in a courtroom, where the goal is to arrive at a just and

impartial verdict. All people deserve fair treatment in the legal system regardless

of race, national or ethnic origin, religion, age, disability, sex, gender identity or

expression, sexual orientation, education, income level, or any other personal


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characteristic. You should determine the facts solely from a fair consideration of

the evidence.

      During this trial, I may rule on motions and objections by the parties, make

comments to the parties, question the witnesses, and instruct you on the law. You

should not take any of my statements or actions as any indication of my opinion

about how you should decide the facts. If you think that somehow I have

expressed or even hinted at any opinion as to the facts in this case, you should

disregard it. The verdict in this case is your sole and exclusive responsibility.

      You may consider only the evidence properly admitted in this case. That

evidence includes the sworn testimony of witnesses and the exhibits admitted into

evidence. Sometimes a party’s question suggests the existence of a fact, but the

party’s question alone is not evidence. If the evidence includes anything other than

testimony and exhibits, I will instruct you about these other types of evidence

when they are admitted during the trial.

      During the trial, if the court or a party makes a statement or asks a question

that refers to evidence that you remember differently, you should rely on your

memory of the evidence during your deliberations.

      The parties may object when the other side asks a question, makes an

argument, or offers evidence that the objecting party believes is not properly

admissible. You must not hold such objections against the party who makes them


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or the party s/he represents. It is the party’s responsibility to object to evidence that

they believe is not admissible.

      If I sustain an objection to a question asked by a party, the question must be

withdrawn, and you must not guess or speculate what the answer to the question

would have been. If a question is asked and answered, and I then rule that the

answer should be stricken from the record, you must disregard both the question

and the answer in your deliberations. You should follow this same rule if any of

the exhibits are stricken. If I overrule an objection, the question may stand and the

witness may answer it.

      You are not permitted to discuss this case with anyone until this case is

submitted to you for your decision at the end of my final instructions. This means

that, until the case is submitted to you, you may not talk about it even with your

fellow jurors. This is because we don’t want you making decisions until you’ve

heard all the evidence and the instructions of law. In addition, you may not talk

about the case with anyone else. It should go without saying that you also may not

write about the case electronically through any blog, posting, or other

communication, including “social networking” sites such as Facebook or Twitter

until you have delivered your verdict and the case is over. This is because you

must decide the case based on what happens here in the courtroom, not on what

someone may or may not tell you outside the courtroom. Your friends, co-


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workers, or family members might ask what kind of case you’re sitting on. You

may tell them it is a criminal case, but nothing else. Now, when the case is over,

you may discuss any part of it with anyone you wish, but until then, you may not

do so.

         Although it is a natural human tendency to talk with people with whom you

may come into contact, you must not talk to any of the parties, their attorneys, or

any witnesses in this case during the time you serve on this jury. If you encounter

anyone connected with the case outside the courtroom, you should avoid having

any conversation with them, overhearing their conversation, or having any contact

with them at all. For example, if you find yourself in a courthouse corridor,

elevator, or any other location where the case is being discussed by attorneys,

parties, witnesses, or anyone else, you should immediately leave the area to avoid

hearing such discussions. If you do overhear a discussion about the case, you

should report that to me as soon as you can. Finally, if you see any of the attorneys

or witnesses involved in the case and they turn and walk away from you, they are

not being rude; they are merely following the same instruction that I gave to them.

         It is very unlikely, but if someone tries to talk to you about the case, you

should refuse to do so and immediately let me know by telling the Deputy Clerk or

the marshal. Don’t tell the other jurors; just let me know, and I’ll bring you in to

discuss it.


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      Between now and when you are discharged from jury duty, you must not

provide to or receive from anyone—including friends, co-workers, and family

members—any information about your jury service. You may tell those who need

to know where you are, that you have been picked for a jury, and how long the

case may take. However, you must not give anyone any information about the case

itself or the people involved in the case. You must also warn people not to try to

say anything to you or write to you about your jury service or the case. This

includes face-to-face, phone, or computer communications.

      In this age of electronic communication, I want to stress that you must not

use electronic devices or computers to talk about this case, including tweeting,

texting, blogging, e-mailing, posting information on a website or chat room, or any

other means at all. Do not send or accept messages, including email and text

messages, about your jury service. You must not disclose your thoughts about

your jury service or ask for advice on how to decide any case.

      Because you must decide this case based only on what occurs in the

courtroom, you may not conduct any independent investigation of the law or the

facts in the case. That used to mean that you could not conduct any research in

books or newspapers or visit the scene of the alleged offense. In this electronic

age, it also means you cannot conduct any other kind of research—for example,

researching any issue on the internet, asking any questions of anyone via email or


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text, or otherwise communicating about or investigating the facts or law connected

to the case.

      I want to explain a bit further why there is a ban on internet communications

and research concerning the case. Unfortunately courts around the country have

occasionally experienced problems with jurors ignoring this rule, sometimes

resulting in costly retrials. Generally speaking, these jurors have not sought to

corrupt the process, rather they have been seeking additional information to aid

them in what is undoubtedly a heavy and solemn responsibility. Nonetheless, there

are good reasons for this rule.

      In the first place, obviously, not everything one sees online is true. This

includes not only persons responding to whatever postings you may make about

the case, but also can involve established websites. For example, a mapping site

might not reflect the way a location appeared at the times that are at issue in the

case. Furthermore, even items that are technically true can change their meaning

and significance based upon context.

      Both sides are entitled to have the chance to not only dispute or rebut

evidence presented by the other side, but also to argue to you how that evidence

should be considered within the factual and legal confines of the case. Any secret

communications or research by you robs them of those opportunities and can

distort the process, sometimes with negative results. It is for those reasons, that I


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instruct you that you should not use the internet to communicate about the case or

do any research about the case.

      In some cases, there may be reports in the newspaper or on the radio,

Internet, or television concerning the case while the trial is ongoing. If there

should be such media coverage in this case, you may be tempted to read, listen to,

or watch it. You must not read, listen to, or watch such reports because you must

decide this case solely on the evidence presented in this courtroom. If any

publicity about this trial inadvertently comes to your attention during trial, do not

discuss it with other jurors or anyone else. Just let me or my clerk know as soon

after it happens as you can, and I will then briefly discuss it with you.

      After I submit the case to you, you may discuss it only when I instruct you to

do so, and only in the jury room and only in the presence of all your fellow jurors.

It is important that you keep an open mind and not decide any issue in the case

until after I submit the entire case to you with my final instructions.

      Finally, we have a court reporter here taking down testimony, but you will

not have a transcript with you during deliberations. You must rely on your

memory and, if you take them, your notes as an aid to that memory. So I ask you

to pay close attention, and we will begin with the opening statement by the

government.




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